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UNITED STATES BANKRUPTCY COURT
THE EASTERN DISTRICT OF NEW YORK


    In re:                                                                           Chapter 11

    East Coast TVs Inc, et al.,                                                      Case No. 18-40765 (ESS)

                                                               Debtors.1
                                                                                     (Jointly Administered)

    EAST COAST TVS INC. and GARDEN                                                   Adv. Pro. No. 18-
    STATE INSTALLATIONS II, INC.,
                                                                                     COMPLAINT FOR PERMANENT
                                                               Plaintiffs,           INJUNCTION AND DECLARATORY
                                                                                     RELIEF)
                                                               -against-

    MERRICK BANK CORPORATION

                                                               Defendant.




                  East Coast TVS Inc. and its affiliated debtor-in-possession (collectively, “Debtors”), by

    and through their undersigned attorneys for their Complaint seeking a permanent injunction

    and declaratory relief against Defendant Merrick Bank Corporation (“Merrick Bank”), allege

    as follows:




                                                            
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
East Coast TVs Inc (0300) and Garden State Installations II, Inc (4391).

                                                                                 1

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                                     NATURE OF THE ACTION

                   1.    This adversary proceeding seeks injunctive and declaratory relief requiring the

    Debtors’ exclusive merchant bank processor, Merrick Bank, to refrain from terminating and to

    perform under certain executory contracts in which it agreed to process the credit-card purchases

    of the Debtors’ sales. Either termination or continued non-performance by Merrick Bank will

    eviscerate a critical component of the Debtors’ operations as the relevant agreement is, responsible

    for 100% of the Debtors’ revenue. Without that revenue stream, any prospect of a successful

    restructuring will be placed in jeopardy, and creditor recoveries will be impaired. This Court was

    made aware by both Priority Payment Services (“PPS”) and Card Processing Systems that it is the

    responsibility of Merrick Bank to process or not any post-petition sales.

                   2.    The Debtors are currently party to a series of credit card Processing Services

    Agreements (the “Processing Agreements”) with PPS and Merrick Bank. What has occurred post-

    petition is alarming. Post-petition both PPS and Merrick Bank have failed to honor the Processing

    Agreements without any notice whatsoever of termination.

                   3.    During the course of a hearing held before this Court on February 28, 2018 it

    was conceded by Counsel for PPS that no such termination notice was ever sent to the Debtors.

    The Debtors’ continued rights under the Processing Agreements are a substantial asset of the

    respective estates, and any termination or non-performance of those rights is barred by the

    automatic stay that came into effect upon the commencement of the Debtors’ bankruptcy cases

    (February 9, 2018). Moreover, assuming that Merrick Bank would rely on ipso facto clauses in

    the agreements cannot provide a basis for termination under section 365(e)(1) of the Bankruptcy

    Code.

                   3.    Accordingly, the Debtors bring this adversary proceeding for equitable relief

    to further prevent Merrick Bank from improperly terminating or not performing under the

    Processing Agreements. Specifically, the Debtors seek the following relief against Merrick Bank:
                                                    2

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    (a) a declaration that termination of the Processing Agreements violates the automatic stay

    under section 362(a)(3) of the Bankruptcy Code by exercising control over property of the

    estates, including control over the Debtors’ rights to continued performance under the Processing

    Agreements; (b) a declaration that because the Processing Agreements are executory contracts, any

    provisions in those agreements that purport to terminate them based on the Debtors’ financial

    condition are unenforceable pursuant to section 365(e)(1) of the Bankruptcy Code; and (c) a

    permanent injunction enjoining Merrick Bank from terminating the Processing Agreements or

    otherwise failing to honor its obligations under those agreements unless and until the Debtors

    assumes or rejects them in accordance with section 365(d) of the Bankruptcy Code.

                                     JURISDICTION AND VENUE

                  4.      This Court has jurisdiction over this adversary proceeding pursuant to 28

    U.S.C. §§ 157 and 1334. Debtors make this application pursuant to sections 105(a), 362, 365,

    and 541 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 7001 and 7065 of the

    Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 65 of the Federal Rules of

    Civil Procedure, and 28 U.S.C. § 2201.

                   5.     This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (G), and

    (O). Venue of this proceeding in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


                                                PARTIES

                  6.      Plaintiff is a New Jersey corporation with its principal place of business in

    Linden, New Jersey.

                  7.      Upon information and belief, Defendant is a Utah corporation with an address

    at 135 Corssway Park Drive North, Suite A100, Woodbury, NY 11797.

                                   SUBSTANTIVE ALLEGATIONS

            A.    Background of the Debtors’ Operations

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                                 8.         On February 9, 2018 (the “Petition Date”) the Debtors filed the bankruptcy

    cases in the United States Bankruptcy Court for the Eastern District of New York.

                                 9.         The Debtors are online retailers of electronics, primarily televisions and

    related accessories.

                  B.             Credit Card Processing Services Are An Essential Component Of the Debtors
                                 Operations

                                 10.        The Debtors’ sole source of revenue— historically between approximately $1

    to $2 million per month—consists of the charges they collect from sales to consumer who pay for

    the Debtors’ products with VISA/MasterCard credit cards. Like most providers of goods, the

    Debtors are not qualified to submit credit-card payment receipts directly to the VISA or MasterCard

    networks; rather, it depends on an authorized credit card processor—in this case, PPS—to

    consummate those transactions.                              Upon information and belief, Merrick Bank, through PPS,

    processes approximately 100% of the Debtors credit-card transactions.

                                 11.        In the typical transaction, the Debtors transmit a digital sales record of the

    customer’s card payment to PPS/Merrick Bank, which relays the information to the Visa or

    MasterCard network. The network dispatches the transaction to the customer’s issuing bank

    (i.e., the bank that issued the card to the customer), which advances funds from the customer’s

    line of credit, and remits the funds back to the network. The network makes a wire transfer to

    Merrick Bank and PPS of the dollar amount of the transaction, less a fee that PPS owes the

    issuing bank related to the transaction, to the Debtors. Finally, Merrick Bank transfers the balance

    of the funds (net of any fees the Debtors owe Merrick Bank/PPS related to the transaction and/or

    charge-backs) to the Debtors’ bank account.2 The relationship among the Debtors, PPS, Merrick

    Bank, the Visa and MasterCard networks, and the customer and its issuing bank appears below:

                                                            
2
  Each of the intermediaries between the credit-card-paying customer and the Debtor—i.e., the bank that issued the
customer’s credit card, the VISA or MasterCard network, and the credit card processor (Merrick Bank)—collect fees on
every transaction. These fees are deducted from the customer’s payment and the net proceeds are remitted to Debtor. 

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                   12.   Credit card processing is a critical component of the Debtors’ business.

    Without it, the Debtors would be and are now unable to consummate credit card transactions and

    would be deprived of its primary source of revenue.

            C.     The Debtors’ Processing Services Agreements

                   13.   To ensure their ability to collect credit card payments from their customers,

    the Debtors entered into the Processing Agreements with PPS and Merrick Bank, who has served

    as the Debtors’ exclusive credit card processor.

                   1.     The Processing Agreements’ Termination Provisions

                   14.   The Processing Agreements include clauses that purport to permit termination

    or materially modify the agreements upon certain events.

                   15.   Section 24 of the Processing Agreement addresses the Term and lists

    certain Events of Default.

                   16.   Termination is not automatic under any of the agreements and instead

    requires significant steps to consummate, including the transmission of a written notice of

    termination as well as physically removing the Debtors from the PPS/Merrick Bank processing
                                                       5

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    system, processing all outstanding credit card transactions and charge-backs, remitting net proceeds

    due the Debtors, agreeing on an acceptable Reserve Account, discontinuing the maintenance of the

    Debtors’ information, and returning certain proprietary data (e.g., customer lists) and other

    materials Merrick Bank would likely have to administer any agreed-upon reserve account for

    anywhere from six months to more than a year after any purported termination date as charge-

    backs, cancellations, and credits make their way through the system.

                    2.       The Processing Agreements Mitigate Default Risk By Permitting
                             Merrick Bank To Establish A Reserve Account

                    17.    The Processing Agreements authorize PPS/Merrick Bank to establish an

    internal reserve account (the “Reserve Account”) in the event it determines there has been a

    materially adverse change in the financial condition and to secure Merrick Bank in the event it is

    required to make payments or incur liabilities on the Debtors’ behalf, e.g., in the event that “charge-

    backs”3 for a given period exceed the Debtors’ net proceeds for the period. Merrick Bank

    may fund the Reserve Account by withholding a portion of the proceeds due to the Debtors from

    member credit card payments.

                    18.    Merrick Bank has previously requested that the Debtors maintain at least

    $100,000 in the Reserve Account at all times—a requirement with which the Debtors have

    complied. As of the Petition Date, the Reserve Account remain at approximately $100,000.

            D.      The Processing Agreements Are Unexpired Executory Contracts

                    19.    As of the Petition Date, the Processing Agreements, and the parties’

    respective obligations thereunder, remain in full force and effect.

                    20.    The Processing Agreements do not terminate automatically. In addition to



                                                            
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  A charge-back is a reversal of a sale transaction, such as a return or a refund. In the event of a charge-back, Merrick
Bank distributes proceeds in the amount of the refund to the issuing bank, which then credits the amount of the refund to
the customer’s account. Typically, charge-backs are simply deducted by Merrick Bank from net proceeds.
 

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    written notice of default, there are significant, additional steps required to effect termination,

    including physically removing the Debtors from Merrick Bank’s processing system, processing all

    outstanding credit card transactions and charge-backs, remitting net proceeds due the Debtors,

    agreeing on acceptable Reserve Account, discontinuing the maintenance of the Debtors’

    information, and returning certain data and materials. The process of administering any agreed-

    upon escrow as charge-backs, cancellations and credits run through the system will likely last

    between six months to more than a year.

                    21.   Even after termination is effectuated, the parties have continuing rights and

    obligations under the P r o c e s s i n g Agreements, including rights to indemnification and

    confidentiality and record-retention obligations.

            E.      Termination Of The Processing Agreements Threatens
                    The Debtors’ Successful Restructuring

                    22.   If the actions of Merrick Bank would remain and this Court accepted the

    notion that the Processing Agreements were terminated, or worse this Court accepted the non-

    performance post-petition, the impact on restructuring would be severe and the precedent it would

    set for others would be frightening. The credit card processing arrangement with Merrick Bank

    is a critical component of the operations; its termination threatens the ability to restructure and will

    negatively impact creditor recoveries in these chapter 11 cases.

                                       *       *        *     *        *

                                                   COUNT I

          FOR A DECLARATION THAT THE PROCESSING AGREEMENTS ARE
       EXECUTORY CONTRACTS AND THAT ANY ATTEMPT TO TERMINATE THE
         AGREEMENTS BASED ON THE DEBTORS’ FINANCIAL CONDITION IS
       UNENFORCEABLE UNDER SECTION 365(E)(1) OF THE BANKRUPTCY CODE

                    23.   The Debtors repeat and re-allege the allegations contained in paragraphs 1

    through 22 as if set forth fully herein.

                    24.   Section 365(e)(1) of the Bankruptcy Code provides that “[n]otwithstanding
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    a provision in an executory contract ..., or in applicable law, an executory contract ... of the debtor

    may not be terminated or modified, and any right or obligation under such contract or lease may

    not be terminated or modified, at any time after the commencement of the case solely because of

    a provision in such contract or lease that is conditioned on ... the insolvency or financial

    condition of the debtor at any time before the closing of the case[.]”

                   25.   The automatic stay applies to the Processing Agreements and the Debtors’

    rights thereunder and prohibits Merrick Bank from terminating them or simply refusing to perform

    on them.

                   26.     The Processing Agreements are unexpired executory contracts.

                   27.     Neither Merrick Bank nor PPS are permitted to terminate or modify the

    Processing Agreements on the basis of the Debtors’ financial condition pursuant to the ipso facto

    clauses in the Agreements. No notice of termination was ever sent to the Debtors.

                   28.     Accordingly, the Court should declare that the Processing Agreements are

    executory contracts within the meaning of Sections 365(e)(1) of the Bankruptcy Code, and that the

    Agreements therefore may not be terminated or modified by Merrick Bank on the basis of the

    Debtors’ financial condition or unaudited claims involving chargebacks.

                                                 COUNT II

    FOR DECLARATION THAT TERMINATION OF THE PROCESSING AGREEMENTS
        WOULD VIOLATE THE AUTOMATIC STAY UNDER SECTION 362(A)(3)
                   29.   The Debtors repeat and re-allege each and every allegation contained in

    paragraphs 1 through 28, as if set forth fully herein.

                   30.   The Bankruptcy Code automatically stays any action to obtain possession or

    exercise control over assets of the estate. See 11 U.S.C. § 362(a)(3).

                   31.   Similarly, section 541(c)(1) of the Bankruptcy Code provides that property of

    a debtor becomes property of the estate, “notwithstanding any provision in [an] agreement ... (B)

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    that is conditioned on the insolvency or financial condition of the debtor ... and that effects ... a

    forfeiture, modification, or termination of the Debtors’ interest in property.” See 11 U.S.C. §

    541(c)(1).

                   32.   The Debtors’ rights under the Processing Agreements requiring

    Merrick Bank to continue to process its sales are property of the estate and substantial assets.

                   33.   Any attempt by Merrick Bank to terminate or otherwise interfere with the

    Debtors’ rights under the Processing Agreements is subject to the automatic stay. Termination

    of the Processing Agreements by Merrick Bank would violate the automatic stay.

                                                COUNT III

            FOR A PERMANENT INJUNCTION ENJOINING MERRICK BANK FROM
                     TERMINATING THE PROCESSING AGREEMENTS

                   34.   The Debtors repeat and re-allege each and every allegation contained in

    paragraphs 1 through 33, as if set forth fully herein.

                   35.   Because any effort by Merrick Bank to terminate the Processing Agreements,

    either on the basis of the Debtors’ financial condition or otherwise, would violate Sections

    365(e)(1) and 362(a)(3) of the Bankruptcy Code, Merrick Bank should be permanently enjoined

    from terminating the Processing Agreements or otherwise failing to honor its obligations under the

    Processing Agreements unless and until the Debtors assume or reject the Agreements pursuant to

    section 365(d) of the Bankruptcy Code.

                                        REQUEST FOR RELIEF

                   36.   For the foregoing reasons, the Debtors requests that the Court enter an order

                   (a)     declaring that because the Processing Agreements are executory contracts,
                           any provisions in those agreements that purport to terminate them based
                           on the Debtors’ financial condition are unenforceable under section
                           365(e)(1) of the Bankruptcy Code;

                   (b)     declaring that termination or continued non-performance under the
                           Processing Agreements by Merrick Bank would violate the automatic
                           stay under section 362(a)(3) of the Bankruptcy Code by exercising control
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                        over property of the estates;

                  (c)   permanently enjoining Merrick Bank from terminating the Processing
                        Agreements or otherwise failing to honor its obligations under those
                        agreements until they are assumed or rejected in accordance with section
                        365(d) of the Bankruptcy Code; and

                  (d)   awarding such other relief as the Court deems proper.
    Dated: New York, New York
           March 1, 2018
                                                        OLSHAN FROME WOLOSKY LLP


                                                        By: /s/ Michael S. Fox
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